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               IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF NEW JERSEY




IN RE: JOHNSON & JOHNSON TALCUM
POWER PRODUCTS MARKETING, SALES                      No. 3:16-md-02738-MAS-RLS
PRACTICES, AND PRODUCTS LIABILITY
LITIGATION




      DECLARATION OF SUSAN M. SHARKO IN SUPPORT OF
   DEFENDANTS JOHNSON & JOHNSON AND LLT MANAGEMENT,
    LLC’S MEMORANDUM OF LAW IN SUPPORT OF MOTION TO
       STRIKE THE PLAINTIFFS’ STEERING COMMITTEE’S
    SUPPLEMENTAL BRIEF IN SUPPORT OF ITS OPPOSITION TO
   DEFENDANTS’ MOTION TO EXCLUDE PLAINTIFFS’ EXPERTS’
  GENERAL CAUSATION OPINIONS AND AFFIDAVIT OF DR. DAVID
                          MUTCH

I, Susan M. Sharko, declare as follows:

      I am an attorney and a partner with the law firm Faegre Drinker Biddle &

Reath LLP, counsel for Defendants Johnson & Johnson and LLT Management, LLC

(hereafter, “Defendants”) in the above-captioned matter. The facts stated in this

Declaration are true of my own personal knowledge. I submit this Declaration in

Support of Defendants’ Memorandum of Law in Support of Motion to Strike the

Plaintiff’s Steering Committee’s Supplemental Brief in Support of Its Opposition to

Defendants’ Motion to Exclude Plaintiffs’ Experts’ General Causation Opinions and

Affidavit of Dr. David Mutch, in the above case.
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1.   Attached hereto as Exhibit 1 is a true and correct excerpt of the transcript of

the deposition of David Mutch, M.D., dated February 13, 2021, in the matter of

Gallardo v. Johnson & Johnson, No. 3:18-cv-10840.

     I certify under penalty of perjury that the foregoing is true and correct.


Dated: September 20, 2024                    /s/ Susan M. Sharko
                                             Susan M. Sharko




                                         2
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                             Exhibit 1
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    1                  IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW JERSEY
    2
    3    IN RE:    JOHNSON & JOHNSON
         TALCUM POWDER PRODUCTS
    4    MARKETING, SALES PRACTICES,
         AND PRODUCTS LIABILITY LITIGATION
    5
                                                MDL No. 16-2738 (FLW)(LHG)
    6
         THIS DOCUMENT RELATES TO:
    7    ANNA GALLARDO,                     )
                                            )
    8                                       )
              Plaintiff,                    )Case No. 3:18-cv-10840
    9    v.                                 )
                                            )
   10    JOHNSON & JOHNSON, et al.,         )
                                            )
   11         Defendants.                   )
   12
   13                                  _   _    _
   14
                             SATURDAY, FEBRUARY 13, 2021
   15
                                       _   _    _
   16
   17            Remote Video Deposition of DAVID G. MUTCH, M.D., taken
   18    pursuant to notice and conducted at the location of the
   19    witness in the State of Missouri, commencing at 9:04 a.m.,
   20    Central Time, on the above date, before Jennifer A. Dunn,
   21    Registered Professional Reporter, Certified Court Reporter.
   22
   23
   24                         GOLKOW LITIGATION SERVICES
                        P:    877.370.DEPS | F:     917.591.5672
   25                              deps@golkow.com



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    1                         A P P E A R A N C E S
    2
    3    COUNSEL ON BEHALF OF PLAINTIFF:
    4       ONDER LAW FIRM
               BY:    CYNTHIA GARBER, ESQ.
    5          garber@onderlaw.com
               110 E. Lockwood Avenue
    6          St. Louis, Missouri    63119
               Tel:    314.408.6136
    7
    8    COUNSEL ON BEHALF OF DEFENDANT:
    9       SHOOK HARDY & BACON, LLP
               BY:    MARK C. HEGARTY, ESQ.
   10          mhegarty@shb.com
               BY:    KERRY STUFFLEBEAN
   11          kstufflebean@shb.com
               2555 Grand Boulevard
   12          Kansas City, MO    64108
               Tel:    816.474.6550
   13
   14    COUNSEL ON BEHALF OF DR. DAVID MUTCH:
   15       LASHLEY BAER
               BY:    NANCY R. VIDAL, ESQ.
   16          nvidal@lashleybaer.com
               714 Locust Street
   17          St. Louis, Missouri    63101
               Tel:    314.436.8367
   18
   19
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    1         Q     Now, Dr. Mutch, you're aware -- you're aware

    2    that -- or are you aware that we're here today taking your

    3    deposition because Ms. Gallardo is claiming in her lawsuit

    4    that talc use caused her endometrioid ovarian cancer?

    5         A     I would have -- I -- I -- no one has said that,

    6    but since Johnson & Johnson is involved, my, you know, I'm

    7    not blind, so I would have thought that that would be the

    8    likely, you know -- a likely accusation.

    9         Q     Now, you've seen Ms. Gallardo fairly frequently

   10    over the last eight years.    At any point in time in the last

   11    eight years did she ever ask you whether talc use -- about

   12    her talc use and endometrioid ovarian cancer?

   13         A     I -- I can't recall.    She might recall that, but I

   14    cannot recall her answering that.

   15               My -- my answer to her, if she asked that question

   16    in this setting, would be that -- that I do not believe that

   17    talc increases a risk of ovarian cancer, that if I did, that

   18    endometrioid cancer is typically not associated with talc,

   19    and that she had no calcifications or psammomatous bodies,

   20    so in my opinion that would be highly unlikely.       That would

   21    have been my answer to her.    That would be my typical answer

   22    to patients who ask that question.

   23         Q     Do you recall if Ms. Gallardo ever asked you about

   24    filing a lawsuit concerning her talc use?

   25         A     I -- I was surprised when I -- I was surprised




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    1    that she did that, yes.    I mean, but, no, I mean, I was

    2    surprised when we got a request for records, yes, I was

    3    surprised.

    4         Q     And following up on your -- your last answer, is

    5    it correct that in caring and treating Ms. Gallardo, you do

    6    not believe that talc use caused her endometrioid ovarian

    7    cancer?

    8                    MS. GARBER:    Object to the form.    Lacks

    9    foundation based on prior testimony.

   10                    THE WITNESS:    That would be my -- based on

   11    what I know, which is substantial --

   12                    MR. HEGARTY:    I'm sorry, you're --

   13                    THE WITNESS:    -- endometrioid cancer, the

   14    answer to that would be yes.

   15                    MR. HEGARTY:    Can you start that answer -- I

   16    don't know if -- Jennifer, did you get that answer?       Because

   17    it sort of broke up for me.

   18                    COURT REPORTER:    Yes, it broke up for me as

   19    well.

   20                    MR. HEGARTY:    Would you -- would you just

   21    read back my question?    Doctor, the -- the video broke up

   22    right in the middle of your answer, so Jennifer didn't --

   23    wasn't able to type it.

   24               Yeah, would you read the question back to the

   25    doctor, and, Doctor, would you mind giving your answer?




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     1                   THE WITNESS:    Am I supposed to answer this?

     2   I mean, there was an objection.

     3                   MR. HEGARTY:    No, you can answer it.

     4                   MS. GARBER:    Well, Mark, sorry.    With due

     5   respect, he's represented.

     6                   MS. VIDAL:    No, Doctor.    You -- subject to

     7   the objection, you can answer.

     8                   MR. HEGARTY:    I'm sorry.    Thank you.   Sorry I

     9   interrupted you.

    10                   (The requested portion of the record was read

    11   back by the court reporter.)

    12                   THE WITNESS:    If she asked me that question,

    13   which I cannot remember, that would be my -- my answer would

    14   be that I would be -- that I do not believe that talc would

    15   be associated with any ovarian cancer in particular, but

    16   certainly not with endometrioid cancer, and since there were

    17   no calcifications within her disease, that I would, you

    18   know, that it would be highly, highly unlikely that this was

    19   a talc-associated ovarian cancer.

    20   BY MR. HEGARTY:

    21         Q    You mentioned --

    22                   MS. GARBER:    Let me just make -- Mark, sorry.

    23                   MR. HEGARTY:    Go ahead, I'm sorry.

    24                   MS. GARBER:    I'm going to make a motion to

    25   strike the answer based on lack of foundation and that he




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     1   does not recall being asked that.     And so it calls for

     2   speculation.

     3   BY MR. HEGARTY:

     4         Q    And, Doctor, you mentioned a moment ago that you

     5   have a large file of medical literature on talc and ovarian

     6   cancer; is that right?

     7         A    That is correct.

     8         Q    So is this an area, an issue, talc use and ovarian

     9   cancer, of which you have kept up to date on?

    10         A    I would say I'm pretty up to date on it, yes.

    11         Q    And with regard to your review of the medical

    12   literature, what is your takeaway?

    13                   MS. GARBER:    Object to the form.

    14                   THE WITNESS:    Well, there are some studies

    15   that show that there's an increased risk, statistical

    16   increased risk, which is minimal, and probably not

    17   clinically relevant that there is an increased risk.

    18              Obviously, we're all aware of the large lawsuits

    19   that have resulted from this.     I'm not going to go into

    20   that.

    21              But, certainly, there are histologic types that

    22   are typically not associated with this, and one of those

    23   would be endometrioid cancer, and especially cancers that

    24   have no calcification, calcium deposits, which this is such

    25   a case.




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     1                              CERTIFICATE

     2                   I, Jennifer A. Dunn, Registered Professional

     3   Reporter and Certified Court Reporter, do hereby certify

     4   that prior to the commencement of the examination,

     5   DAVID G. MUTCH, M.D., was duly remotely sworn by me to

     6   testify to the truth, the whole truth and nothing but the

     7   truth.

     8                   I DO FURTHER CERTIFY that the foregoing is a

     9   verbatim transcript of the testimony as taken

    10   stenographically by me at the time, place and on the date

    11   hereinbefore set forth, to the best of my ability.

    12                   I DO FURTHER CERTIFY that I am neither a

    13   relative nor employee nor attorney nor counsel of any of the

    14   parties to this action, and that I am neither a relative nor

    15   employee of such attorney or counsel, and that I am not

    16   financially interested in the action.

    17

    18

    19

    20                        "/s/JENNIFER A. DUNN"

    21                  Registered Professional Reporter

    22                     Certified Court Reporter

    23

    24                     Dated:   February 21, 2021

    25




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